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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                     CR22-94-BLG-SPW
                        Plaintiff,

  vs.                                                 ORDER


  JORDAN CODY WASHEE,

                        Defendant.


        Upon the Court's Own Motion,

        IT IS HEREBY ORDERED that the Change of Plea Hearing presently set

for Friday, October 28, 2022 at 10:30 a.m. is VACATED and RESET for

Thursday, October 27,2022 at 1:30 p.m. in the James F. Battin U.S. Courthouse,

Billings, Montana, at which time the court will consider his motion to change his

plea of not guilty to a plea of guilty.

        The Clerk of Court is directed to notify the parties of the making of this

Order.


        DATED this             of October, 2022.


                                            SUSAN P. WATTERS
                                             U.S. DISTRICT JUDGE
